JS 44 (Rev. 04/21)       Case 2:25-cv-01359                             CIVIL COVER
                                                                      Document         SHEET
                                                                               1-1 Filed 02/20/25                                    Page 1 of 1 PageID: 14
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
    Omar Contreras, Antonio de la Rosa,                                                                   Mattress Direct Inc. and Ahmad Schuaib
    and Carmen Lliguicota
                                                                                                                                                                     Passaic County
   (b) County of Residence of First Listed Plaintiff              Kings County, New York                  County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)
   Louis Pechman, Pechman Law Group PLLC, 488 Madison Avenue,
   Suite 1704, New York, New York 10022; Tel.: 212-583-9500

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                    and One Box for Defendant)
   1   U.S. Government               X3     Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1        X 1      Incorporated or Principal Place         4   X 4
                                                                                                                                                      of Business In This State

   2   U.S. Government               X 4    Diversity                                            Citizen of Another State          X 2          2   Incorporated and Principal Place           5         5
         Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
   110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
   120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
   130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
   140 Negotiable Instrument                Liability                  367 Health Care/                                                    INTELLECTUAL                    400 State Reapportionment
   150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
       & Enforcement of Judgment            Slander                        Personal Injury                                               820 Copyrights                    430 Banks and Banking
   151 Medicare Act                    330 Federal Employers’              Product Liability                                             830 Patent                        450 Commerce
   152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated          460 Deportation
        Student Loans                  340 Marine                          Injury Product                                                    New Drug Application          470 Racketeer Influenced and
        (Excludes Veterans)            345 Marine Product                  Liability                                                     840 Trademark                         Corrupt Organizations
   153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                     LABOR                        880 Defend Trade Secrets          480 Consumer Credit
       of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud           X 710 Fair Labor Standards                  Act of 2016                       (15 USC 1681 or 1692)
   160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending            Act                                                                 485 Telephone Consumer
   190 Other Contract                      Product Liability           380 Other Personal          720 Labor/Management                  SOCIAL SECURITY                       Protection Act
   195 Contract Product Liability      360 Other Personal                  Property Damage             Relations                         861 HIA (1395ff)                  490 Cable/Sat TV
   196 Franchise                           Injury                      385 Property Damage         740 Railway Labor Act                 862 Black Lung (923)              850 Securities/Commodities/
                                       362 Personal Injury -               Product Liability       751 Family and Medical                863 DIWC/DIWW (405(g))                Exchange
                                           Medical Malpractice                                         Leave Act                         864 SSID Title XVI                890 Other Statutory Actions
       REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS           790 Other Labor Litigation            865 RSI (405(g))                  891 Agricultural Acts
   210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:              791 Employee Retirement                                                 893 Environmental Matters
   220 Foreclosure                     441 Voting                      463 Alien Detainee              Income Security Act               FEDERAL TAX SUITS                 895 Freedom of Information
   230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
   240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
   245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
   290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                           Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                       446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                           Other                       550 Civil Rights                 Actions                                                                State Statutes
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
X 1 Original       2 Removed from                            3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
       Proceeding            State Court                            Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                             (specify)                 Transfer                          Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         Fair Labor Standards Act, 29 U.S.C. § 201 et seq.
VI. CAUSE OF ACTION Brief description of cause:
                                         Claim for unpaid overtime wages on a class action basis
VII. REQUESTED IN                       X CHECK IF THIS IS A CLASS ACTION                   DEMAND $                                            CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                            JURY DEMAND:         X Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                         JUDGE                                                               DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
         February 20, 2025
                                                                        /s/ Louis Pechman
FOR OFFICE USE ONLY

   RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
